       Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 1 of 9



                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE WESTERN DISTRICT OF WISCONSIN



ARANDELL CORPORATION, et al.,

               Plaintiffs,

v.                                                 CASE NO.: 3:07-CV-00076 (BBC)

XCEL ENERGY INC., et al.

               Defendants.

NEWPAGE WISCONSIN SYSTEM INC.,

               Plaintiff,

v.                                                 CASE NO.: 3:09-CV-00240 (BBC)

CMS ENERGY RESOURCE
MANAGEMENT COMPANY, et al.

               Defendants.

                  DEFENDANTS’ JOINT RESPONSE TO PLAINTIFFS’
                        MOTION TO SET A TRIAL DATE


                              INTRODUCTION AND SUMMARY

       For the last decade, the two above-captioned actions have been pending in the District of

Nevada as part of an MDL proceeding. The electronic files for both cases remain in that district.

       Nonetheless, on September 12, 2019, Plaintiffs filed a “Motion to Set a Trial Date,”

asking this Court to schedule dates on which both matters could be tried here in the Western

District of Wisconsin. Plaintiffs are correct that these cases will be returning to this district and a

scheduling conference ultimately will be needed. Setting firm dates for these cases at this time is


                                                 -1-
       Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 2 of 9



inappropriate, though, because, among other reasons, the records have not yet even been

transferred to this Court.

       Accordingly, Defendants1 request that the Court wait until it has possession of the case

files before taking any further steps. Once that happens, Defendants suggest that the Court

promptly set a scheduling conference, with a requirement that the parties prepare and file a joint

report in advance of that conference, setting forth their respective views on an appropriate

schedule for these cases, identifying outstanding issues, and addressing what briefing and pretrial

proceedings are warranted. In other words, Defendants ask that the Court adopt a scheduling

conference procedure typical of that used in this district.

                     IT IS PREMATURE TO LITIGATE THE MERITS

       As the Court will undoubtedly notice, Plaintiffs’ motion goes well beyond scheduling

issues, making a variety of characterizations about the history of the cases and Defendants’

actions. Suffice it to say, Defendants disagree with nearly all of what Plaintiffs conveyed. Now is

not the time, however, for detailed arguments on the merits of the case. For present purposes,

Defendants will simply offer the Court a synopsis of the procedural history concerning class

certification and a brief overview of what these cases involve.

       With respect to class certification, Plaintiffs seek to litigate on a class-wide basis the

antitrust claims of thousands of commercial and industrial businesses that bought gas through


1The Williams Companies, Inc., Williams Merchant Services Company, LLC (f/k/a Williams
Merchant Services Company, Inc.), Williams Gas Marketing, Inc. (f/k/a Williams Power
Company, Inc. and Williams Energy Marketing & Trading), Dynegy Marketing & Trade,
Dynegy GP Inc., Dynegy Illinois Inc., DMT G.P. L.L.C., CMS Energy Corporation, CMS
Energy Resources Management Company, CMS Field Services, Inc. (n/k/a Cantera Gas
Company), e prime, inc., Xcel Energy Inc., and Northern States Power Company (collectively,
“Defendants”).

                                                 -2-
          Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 3 of 9



varying and complex, individually negotiated contracts involving a myriad of contract structures

and price types tied to numerous locations. The MDL Court denied Plaintiffs’ motions for class

certification, holding that Plaintiffs did not prove that antitrust impact (or anticompetitive harm)

to class members from Defendants’ alleged misconduct could be established through common

proof and that individual issues predominated over any potentially common ones.2

          Plaintiffs appealed the MDL Court’s denial of class certification to the Ninth Circuit

Court of Appeals. Finding that the district court’s class certification order was too terse, the

Ninth Circuit vacated it and remanded for the MDL Court “to conduct an appropriate analysis of

the Rule 23(b)(3) issue in the first instance, with particular focus on the potential differences

between each of the four actions.”3 Importantly, the Ninth Circuit did not disagree with the MDL

Court’s ultimate conclusion denying class certification, reverse that decision, identify any fault in

the denial of class certification, or order certification as Plaintiffs requested. The Ninth Circuit

only asked the MDL Court to provide additional analysis because the analysis provided was

“only a few sentences” and the “terse order . . . [did] not provide a sufficient analysis to permit

us to engage in meaningful appellate review. . . .”4 The MDL Court, however, chose not to

conduct the requested analysis and instead suggested remand of the cases.5

          As for the merits of these claims, in 2000 and 2001, the price of natural gas spiked

sharply as the supply of natural gas fell and the demand for natural gas increased. California felt


2   MDL Dkt. 2832.
3 MDL Dkt. 3030 at 5. By “four actions,” the Ninth Circuit was referring to the two actions
pending here (counted as one action) and identical actions filed by plaintiffs in Colorado,
Kansas, and Missouri.
4   Id. at 3-4.
5   MDL Dkt. 3105.

                                                -3-
       Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 4 of 9



the effects of the natural gas crisis most significantly, if not solely, with higher prices and supply

interruptions. In response to the crisis, the Federal Energy Regulatory Commission (FERC),

Commodities Futures Trading Commission (CFTC), and the SEC investigated allegations that

several natural gas trading firms had falsely reported natural gas trades in the Western markets

and, after investigating, punished individual firms and traders for alleged unilateral false

reporting. None of the regulators, however, suggested—let alone concluded—that Defendants

agreed or conspired with each other and other gas trading firms to false report, manipulate prices,

or restrict output. This critical distinction—between allegedly illegal unilateral conduct (i.e.,

alleged false reporting) and a conspiracy to report false prices with a common, coordinated

purpose, behavior, and goals—matters greatly here because Plaintiffs allege antitrust violations.

       Plaintiffs’ antitrust conspiracy claims require proof of an agreement to restrain trade;

there is none. Because extensive discovery6 has revealed no evidence of a multilateral antitrust

conspiracy, Plaintiffs rely instead on circumstantial evidence to infer an agreement, which

typically requires proof (at minimum) of parallel conduct among alleged co-conspirators (i.e., a

pattern of price changes or restrictions in output). But Plaintiffs’ own experts’ analysis of the

data confirmed the alleged false reporting was not parallel: Defendants were simultaneously

reporting both higher and lower prices with no observable trends, coordination, or pattern.

       This is not surprising. As wholesale natural gas marketers during the relevant period,

Defendants bought and sold physical natural gas in wholesale markets throughout the United

States. Some Defendants desired higher prices and others lower, depending on whether they


6The parties have taken more than 150 fact depositions, plus dozens of expert depositions, and
exchanged 100,000s of documents, as well as extensive electronic database sets and numerous
and extensive expert reports.

                                                 -4-
          Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 5 of 9



were buying or selling. Any Defendant’s preference for higher or lower prices at any given time

and location was situational, inconsistent, and dependent upon a number of factors. Defendants

frequently had conflicting positions on any given day or at any given location. And, because

Defendants often traded with one another, their interests in the direction of prices were

diametrically opposed. A seller would prefer a higher price while the buyer wanted a lower price.

As such, their economic interests were inconsistent with an alleged conspiracy to raise natural

gas prices.

          Absent any evidence from which a multilateral conspiracy to raise prices or even parallel

misreporting could be inferred, Plaintiffs were forced to adopt a new theory of liability. After

fact discovery closed,7 Plaintiffs abandoned the theory of liability they alleged in their

Complaints. Instead, they now agree that Defendants did not participate in “sustained,

coordinated multi-lateral conduct.”8 Instead, Plaintiffs contend that Defendants “engaged in a

pervasive scheme to report false, misleading and knowingly inaccurate price information in order

to collectively gain financial benefit.”9 Simply stated, Plaintiffs now remarkably claim that

uncoordinated, conflicting, unilateral conduct violates Wis. Stat. §133.03(1) when that unilateral

conduct ends up resulting in a “collective[] gain” at some point. Neither Wisconsin law nor

Section 1 of the Sherman Act supports Plaintiffs’ position.




7   See supra n.6.
8 Rebuttal Report on Merits of Plaintiffs’ expert George L. Donkin at 20-21. Compare with, e.g.,
MDL Dkt. 1846, Arandell Third Amended Complaint at ¶ 70 (alleging that Defendants engaged
in an industrywide conspiracy to “collusively and artificially inflate the price of natural gas paid
by commercial entities in Wisconsin above competitive levels”).
9   Id.

                                                 -5-
       Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 6 of 9



       Plaintiffs’ post-discovery theory and the evidence on which it is based also eviscerate

their ability to demonstrate antitrust impact and injury (i.e., that the allegedly collusive behavior

raised prices) on a classwide basis or as to any individual plaintiff. Given that there was no actual

conspiracy to raise prices, as Plaintiffs now concede, Plaintiffs will be unable to demonstrate that

common issues predominate regarding antitrust impact and injury. For precisely that and

additional reasons, the MDL Court correctly denied class certification. And whether as class or

individual claimants, Plaintiffs still must demonstrate that they were adversely impacted by the

alleged conspiracy. Their post-discovery theory, and the evidence on which it is based, makes

that impossible.

                                         CONCLUSION

       Defendants request that when the electronic files are returned to Wisconsin by the MDL

Court, the Court promptly set a scheduling conference, with a requirement that the parties file a

joint report in advance of that conference.



Date: September 19, 2019                      By: /s/ Theodore R. Scarborough
                                                  Theodore R. Scarborough
                                                  tscarborough@sidley.com
                                                  SIDLEY AUSTIN LLP
                                                  One South Dearborn Street
                                                  Chicago, IL 60603
                                                  Tel: (312) 853-7000
                                                  Fax: (312) 853-7036

                                                  Sean A. Commons
                                                  scommons@sidley.com
                                                  SIDLEY AUSTIN LLP
                                                  555 West Fifth Street, Suite 4000
                                                  Los Angeles, CA 90013
                                                  Tel: (213) 896-6687
                                                  Fax: (213) 896-6600

                                              Attorneys for Defendants Cantera Natural Gas, Inc.;
                                                   -6- Resources, Inc.; CMS Energy Resources
                                              Cantera
                                              Management Company; CMS Field Services Inc.;
                                              CMS Energy Corporation; and Cantera Gas
                                              Company
Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 7 of 9




                            By: /s/ Michael J. Modl
                                Michael J. Modl
                                SBN 1011419
                                AXLEY BRYNELSON, LLP
                                2 E. Mifflin Street, Suite 200
                                Post Office Box 1767
                                Madison, WI 53701-1767
                                Telephone: (608) 257-5661
                                Facsimile: (608) 257-5444
                                E-mail: mmodl@axley.com

                                Joseph August Fischer III
                                tfischer@jw.com
                                JACKSON WALKER LLP
                                1401 McKinney, Suite 1900
                                Houston, TX 77010
                                Tel: (713) 752-4530
                                Fax: (713) 308-4130

                                Jay K. Wieser
                                jwieser@jw.com
                                JACKSON WALKER LLP
                                777 Main Street, Suite 2100
                                Fort Worth, TX 76102
                                Tel: (817) 334-7200
                                Fax: (817) 870-5107

                            Attorneys for Defendants Dynegy Illinois Inc.;
                            DMT G.P. L.L.C.; Dynegy GP Inc.; and Dynegy
                            Marketing and Trade


                            By: /s/ Bruce A. Schultz
                               Robert T. Adams
                               rtadams@shb.com
                               Steven D. Soden
                               ssoden@shb.com
                               Mitchell F. Engel
                               mengel@shb.com
                               SHOOK, HARDY & BACON LLP
                               2555 Grand Boulevard
                               Kansas City, MO 64108
                               Tel: (816) 474-6550
                               Fax: (816) 421-5547

                                -7-
Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 8 of 9




                               Bruce A. Schultz
                               bschultz@cnsbb.com
                               Coyne, Schultz, Becker & Bauer, S.C.
                               Suite 1000
                               150 East Gilman Street
                               Madison, WI 53703
                               608-255-1388 (office)
                               608-255-8592 (facsimile)

                            Attorneys for Defendants The Williams Companies,
                            Inc., Williams Merchant Services Company, LLC
                            (f/k/a Williams Merchant Services Company, Inc.),
                            and Williams Gas Marketing, Inc. (f/k/a Williams
                            Power Company, Inc. and Williams Energy
                            Marketing & Trading)


                            By: /s/ Kathryn A. Reilly
                                Kathryn A. Reilly
                                Chuan (“CiCi”) Cheng
                                WHEELER TRIGG O’DONNELL LLP
                                370 17th Street, Suite 4500
                                Denver, CO 80202-5647
                                Telephone: (303) 244-1800
                                Facsimile: (303) 244-1879
                                reilly@wtotrial.com
                                cheng@wtotrial.com

                               Michael John Miguel
                               Brett D. Bissett
                               MCKOOL SMITH P.C.
                               300 South Grand Ave., Suite 2900
                               Los Angeles, CA 90071
                               Telephone: (213) 694-1030
                               Facsimile: (212) 694-1234
                               mmiguel@mckoolsmith.com
                               bbissett@mckoolsmith.com

                               Kendall W. Harrison
                               GODFREY& KAHN, S.C.
                               One East Main Street, Suite 500
                               P.O. Box 2719
                               Madison, WI 53701-2719
                               Telephone: (608) 257-3911

                                -8-
      Case: 3:07-cv-00076-wmc Document #: 166 Filed: 09/19/19 Page 9 of 9



                                          kharriso@gklaw.com

                                      Attorneys for Defendants e prime, inc., Northern
                                      States Power Company, and Xcel Energy Inc.




                             CERTIFICATE OF SERVICE

      I certify a copy of this pleading was filed electronically on the CM/ECF System on
September 19, 2019.
                                                         By: /s/ Michael Modl
                                                             Michael Modl




                                          -9-
